Case 5:23-cv-00425-SMH-KDM Document 1-2 Filed 03/31/23 Page 1 of 5 PageID #: 10




                                                               0425
Case 5:23-cv-00425-SMH-KDM Document 1-2 Filed 03/31/23 Page 2 of 5 PageID #: 11
Case 5:23-cv-00425-SMH-KDM Document 1-2 Filed 03/31/23 Page 3 of 5 PageID #: 12
Case 5:23-cv-00425-SMH-KDM Document 1-2 Filed 03/31/23 Page 4 of 5 PageID #: 13
Case 5:23-cv-00425-SMH-KDM Document 1-2 Filed 03/31/23 Page 5 of 5 PageID #: 14
